Case 2:10-md-02179-CJB-DPC Document 6018-1 Filed 03/09/12 Page 1 of 4

CONFERENCE ATTENDANCE RECORD

DATE: O-4- WW time: 4: 20
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NAME OF ATTORNEY PARTY(S) REPRESENTED

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NAME OF ATTORNEY PARTY(S) REPRESENTED

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3/9/12 Deep Water Horizon - Phase Two Discovery Conference
Telephone Participants

David Baay - TO

Joe Eisert - BP

Denise Scoffield - M-I

Heather Kennealy - Coast Guard

Grant Davis-Denny - TO

Andy Langan - BP

Ted Skerides - BP

Winnfield Sinclair - Alabama

Mike Petrino - BP

Shawn Brady - DRC Emergency Services
Mark Nomillini - BP

Robin Hanger - USDOJ

Paul Thibodeaux - TO
